
USCA1 Opinion

	













                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 94-2217
        No. 95-1390
                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                 JOSE R. CRUZ-KUILAN,

                                Defendant, Appellant.

                                 ____________________


                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                  [Hon. Juan M. Perez-Gimenez, U.S. District Judge]
                                               ___________________
                                 ____________________

                                        Before

                       Selya, Boudin, and Lynch, Circuit Judges.
                                                 ______________

                                 ____________________

            Miriam Ramos Grateroles for appellant.
            _______________________

            Miguel A.  Pereira, Assistant  United States  Attorney, with  whom
            __________________
        Guillermo  Gil, United States Attorney,  was on brief,  for the United
        ______________
        States.

                                 ____________________

                                   February 5, 1996
                                 ____________________





                      LYNCH, Circuit  Judge.   This is an  appeal from  a
                      LYNCH, Circuit  Judge.
                             ______________


















            conviction for a  carjacking which resulted  in the owner  of

            the car being shot  to death in front of his  wife and son in

            the  carport of their home in Puerto Rico.  Jose Cruz-Kuilan,

            age 20  at the time of the  crime, was convicted of violating

            18  U.S.C.   2119(3), the carjacking statute, and 18 U.S.C.  

            2, aiding and  abetting in  the same, and  sentenced to  life

            imprisonment.   The primary argument on appeal -- that it was

            error to  allow expert testimony from  a forensic pathologist

            and to admit photographs  of the victim's wounds --  is based

            on  a theory this court recently rejected in United States v.
                                                         _____________

            Rivera-Gomez, 67 F.3d 993 (1st Cir. 1995).  Because the other
            ____________

            arguments presented are without merit, we affirm.

                      The crime was cold-blooded and brutal.  Cruz-Kuilan

            and  two companions,  Marrero  Santiago  and Rangel  Pizzini,

            decided to steal a car, settled on a Buick Le Sabre they saw,

            and followed it  in their own car.   Theodore Edward  Fuhs, a

            businessman, and his wife Luz  Martinez Fuhs were driving  to

            their  home  in  Levittown, Puerto  Rico,  in  the  Le Sabre,

            unaware of being followed.   Their son Carl was  outside when

            his  parents  pulled  into  the  "marquesina,"  the  carport.

            Marrero and Cruz-Kuilan walked  up to the car before  Mr. and

            Mrs. Fuhs could get out.  Pizzini remained in the assailants'

            car.   In Spanish, Marrero  ordered Mr. Fuhs out  of the car.

            Mr.  Fuhs, a continental American citizen,  did not appear to

            understand.  As  Mr. Fuhs got out of the  car, Marrero, angry



                                         -3-
                                          3















            at  how slowly Fuhs was  moving, pistol whipped  him twice on

            the head.   Mr.  Fuhs  lunged for  Marrero  and the  two  men

            toppled.   Cruz-Kuilan moved to  within two feet  of Mr. Fuhs

            and fired point  blank at his  back.  Mr.  Fuhs was  mortally

            wounded.  One of  the bullets  passed through  him to  injure

            Marrero, underneath.  Cruz-Kuilan and Marrero got into the Le

            Sabre and fled.   Realizing  Marrero was in  need of  medical

            care and would be  questioned, they torched the Le  Sabre and

            prepared a story.   When Marrero sought medical care,  he was

            indeed  questioned.    His story  began  to  unravel and  the

            arrests followed in the next several months.

                      At   trial,  both   Marrero   and  Pizzini   turned

            government  witnesses   in  exchange  for  leniency.     They

            identified Cruz-Kuilan.  While Mrs. Fuhs and her son provided

            important  corroborating  testimony,  neither could  identify

            Cruz-Kuilan as one of the assailants.   It took the jury  two

            and one-half hours to convict.

                      On  appeal Cruz-Kuilan  makes these  arguments: (i)

            that the district court  erred in admitting evidence relating

            to Mr. Fuhs'  death; (ii) that the evidence  was insufficient

            for  a  guilty verdict;  (iii)  that  the prosecutor  in  his

            closing argument improperly  vouched for  the credibility  of

            the government's witnesses; and  (iv) that the district court

            erred  in denying a new trial  motion based on after-acquired

            evidence of a government witness' prior bad acts.            



                                         -4-
                                          4















            I. Admissibility of Evidence of Death
            _____________________________________

                      Cruz-Kuilan's main argument is that he  was charged

            with  carjacking,1 not with murder,  and so it  was error for

            the trial court  to admit evidence  of Mr. Fuhs'  death.   In

            particular, he  complains about  the testimony of  a forensic

            pathologist who  traced the path  of the bullets  through Mr.

            Fuhs' body and of  the admission of photographs of  Mr. Fuhs'

            wounds.  Such  evidence, he  says, was not  relevant and  was

            unduly prejudicial.  The statute itself, though, requires not

            just  theft  of a  car while  possessing  a firearm,  but the

            taking of  a car from  another "by  force and violence  or by

            intimidation, or attempts to do so." 18 U.S.C.   2119.  

                      The   global  challenge  to  the  admissibility  of

            evidence of death  in a carjacking case  was soundly rejected

                                
            ____________________

            1.  The carjacking statute provides:

                      Whoever, possessing a firearm . . . takes
                      a   motor   vehicle    that   has    been
                      transported,  shipped,   or  received  in
                      interstate or foreign  commerce from  the
                      person  or presence  of another  by force
                      and  violence  or  by   intimidation,  or
                      attempts to do so, shall --
                      (1)   be  fined   under  this   title  or
                      imprisoned not  more  than 15  years,  or
                      both,
                      (2)  if  serious  bodily  injury  .  .  .
                      results, be  fined  under this  title  or
                      imprisoned  not  more than  25  years, or
                      both, and
                      (3) if death results, be fined under this
                      title  or  imprisoned for  any  number of
                      years up to life, or both.

            18 U.S.C.   2119 (Supp. V 1993).

                                         -5-
                                          5















            in United States  v. Rivera-Gomez, 67  F.3d 993, 996-98  (1st
               _____________     ____________

            Cir.  1995) ("It is difficult  to conceive of  a situation in

            which the death  of a victim will not be  relevant to the use

            of force  and violence during the commission  of an attempted

            carjacking.")  (citing  United  States v.  Rodriguez,  871 F.
                                    ______________     _________

            Supp. 545, 549 (D.P.R.  1994) (admitting evidence of victim's

            death  and means by which it was accomplished as relevant and

            "highly persuasive"  of "force and violence"  in a carjacking

            prosecution)).  The death in this case was  a central part of

            the carjacking and  its "force and  violence" component.   As

            such it was relevant.

                      Cruz-Kuilan  argues  that  even  if  relevant,  the

            evidence was "unfairly prejudicial" under Rule 403.  See Fed.
                                                                 ___

            R. Evid. 403.  But here, as in Rivera-Gomez, the "evidence at
                                           ____________

            issue  [was] so  tightly linked  to guilt  as defined  by the

            elements  of the  offense,  [that] it  would be  surpassingly

            difficult to  justify a finding of  unfair prejudice stemming

            from its introduction."  67 F.3d at 997.  The photographs and

            testimony  by  a  forensics  expert  went to  more  than  the

            determination of the "force and violence" element.  They also

            went to  corroborating the  government's theory of  the case.

            The  evidence showed  lacerations on Mr.  Fuhs' head  and the

            entry  and exit points of the bullets that passed through his

            body.    The  lacerations  on  Mr.  Fuhs'  head  corroborated

            Marrero's  story that  he had  struck Mr.  Fuhs twice  on the



                                         -6-
                                          6















            head.  Similarly, the  paths of the bullets  corroborated the

            government's theory  that one  of the bullets  shot by  Cruz-

            Kuilan passed through  Mr. Fuhs and proceeded  to hit Marrero

            while he was under Mr. Fuhs.

                      Our standard  of review on questions of evidentiary

            relevance balanced against prejudicial effect is for abuse of

            discretion.  Id.  at 997.  "A decision  by the district court
                         ___

            on a Rule 403 determination must stand absent a demonstration

            of  'extraordinarily  compelling  circumstances.'"     United
                                                                   ______

            States  v. Lombard, _ F.3d _, _,  No. 94-2000, slip op. at 50
            ______     _______

            (1st  Cir. Dec. 15, 1995) (quoting United States v. Lewis, 40
                                               _____________    _____

            F.3d 1325, 1339  (1st Cir.  1994)).  Defendant  has shown  no

            such circumstances, and there was no abuse.

            II. Sufficiency of Evidence
            ___________________________

                      Cruz-Kuilan  argues  that  there  was  insufficient

            evidence for the  jury to have found  him guilty, and  so the

            district court erred in not granting his motion for acquittal

            under Fed. R. Crim. Proc. 29.  In reviewing a sufficiency  of

            the evidence claim we  look at the evidence in the light most

            favorable to the verdict.  See United States v. Cotto-Aponte,
                                       ___ _____________    ____________

            30 F.3d 4, 5 (1st Cir. 1994).

                      The argument fails.  That the jury chose to believe

            the  testimony of Cruz-Kuilan's  fellow carjackers -- despite

            his pungent cross examination of their characters and motives

            --  and  to disbelieve  the  alibi  offered by  Cruz-Kuilan's



                                         -7-
                                          7















            estranged  wife and  mother,  was well  within its  province.

            Credibility determinations  are  uniquely within  the  jury's

            province,  and we defer to the jury's verdict if the evidence

            can support varying inferences.  See United States v. Rivera-
                                             ___ _____________    _______

            Sola, 713 F.2d  866, 869  (1st Cir. 1983);  United States  v.
            ____                                        _____________

            Winter, 663  F.2d 1120, 1127  (1st Cir. 1981),  cert. denied,
            ______                                          _____ ______

            460 U.S. 1011 (1983).

            III.  Closing Argument
            ______________________

                      Cruz-Kuilan  makes   a  misplaced  attack   on  the

            prosecution's  closing argument.   Pulling  together numerous

            statements  made by  the  prosecution in  its closing,  Cruz-

            Kuilan asserts  that the  prosecution improperly vouched  for

            the  credibility of  its witnesses.   Since no  objection was

            made at  the time, our review is for plain error.  See United
                                                               ___ ______

            States v. Diaz-Martinez, 71 F.3d 946, 950 (1st Cir. 1995).
            ______    _____________

                      In  essence, defendant  objects  to  statements  in

            closing by  the  prosecution that  the  jury should  come  to

            believe  on the evidence that the events occurred the way the

            government's witnesses said they did.  That is not vouching.

                      Improper  vouching  occurs  where  the  prosecution

            places the  "prestige of the  government behind a  witness by

            making  personal assurances about  the witness' credibility."

            United  States v. Neal, 36  F.3d 1190, 1207  (1st Cir. 1994).
            ______________    ____

            Arguing that a witness  is speaking the truth because  he has

            reason to do  so is  not "making personal  assurances."   See
                                                                      ___



                                         -8-
                                          8















            United States v. Dockray,  943 F.2d 152, 156 (1st  Cir. 1991)
            _____________    _______

            (informing the  jury of the effect  of a plea  agreement on a

            witness'  incentives to  testify  truthfully is  not improper

            vouching).

                      As   well,  the   prosecution's  argument   was  an

            appropriate  response  to  Cruz-Kuilan's own  arguments  that

            Marrero and Pizzini were less worthy of belief as a result of

            their plea bargains.  See United States  v. Mejia-Lozano, 829
                                  ___ _____________     ____________

            F.2d 268, 274 (1st Cir. 1987) (prosecution has greater leeway

            in responding  to attack on, and  attempting to rehabilitate,

            its witnesses).

            IV.  New Trial Motion
            _____________________

                      Cruz-Kuilan's final effort is to claim error in the

            denial of  his request  for a  new trial.   That  request was

            based in  turn on a claim that  the prosecution had failed to

            provide the defense with information about certain "prior bad

            acts" committed by Pizzini.  Cruz-Kuilan asserts that shortly

            before trial  in this  case, the Commonwealth's  courts found

            probable cause for murder, weapons possession, and possession

            of  a  stolen  vehicle  against  Pizzini.2    We  review  the

                                
            ____________________

            2.  Defense counsel has represented  to us that Pizzini later
            pleaded guilty in the  Commonwealth's courts to second degree
            murder,  to violating the weapons laws and to having a stolen
            vehicle.  But that plea was not entered until close to a year
            after  the federal trial here.   Furthermore, this  was not a
            case where defendant claimed that Pizzini,  not he, fired the
            weapon.  Such a claim would  be of no moment given the aiding
            and abetting charge  and that the substantive charge  was not
            murder, but carjacking.   In any event, Cruz-Kuilan's defense

                                         -9-
                                          9















            district court's determination  for an  abuse of  discretion.

            See United States  v. Pettiford,  962 F.2d 74,  77 (1st  Cir.
            ___ _____________     _________

            1992).

                      Pizzini   was  hardly  of  sterling  character  and

            admitted  to  a  prior  robbery conviction  and  three  prior

            robbery  charges.     Indeed,  the  prosecution   itself  had

            described Pizzini  as a  frequent participant  in carjackings

            and  a convicted robber.   Pizzini's  testimony was  that he,

            Marrero, and  Cruz-Kuilan planned  to steal  a  car, that  he

            drove  everyone  to Levittown  where they  spotted a  car and

            followed  it and that  he dropped Marrero  and Cruz-Kuilan at

            the carport and  left.  He did not see Mr. Fuhs being held at

            gun point or being shot.

                      We assume arguendo, as did the district court, that

            the  prosecution knew or should have  known of the additional

            asserted  "prior  bad  acts"  evidence, without  in  any  way

            impugning the government here.  The question for the district

            court  as to the new  evidence is whether  "it is 'material,'

            [and]  it  is  'material'  only  if there  is  'a  reasonable

            probability' that the evidence would have changed the result,

            and a  'reasonable probability' is 'a  probability sufficient

            to undermine  confidence in the outcome.'"   United States v.
                                                         _____________

            Sepulveda, 15 F.3d 1216, 1220 (1st Cir. 1993) (quoting United
            _________                                              ______

            States v.  Bagley, 473 U.S.  667, 682 (1985)),  cert. denied,
            ______     ______                               _____ ______

                                
            ____________________

            was that he was not there at all.      

                                         -10-
                                          10















            114 S. Ct. 2714 (1994).  Given Pizzini's admittedly extensive

            criminal  past, it  was not  an abuse  of discretion  for the

            district court  to find  that the  lack of  additional cross-

            examination  on  the  same   well  developed  theme  did  not

            undermine  confidence in  the  jury verdict  of  guilt.   Cf.
                                                                      ___

            Sepulveda,  15 F.3d at 1219 (no abuse of discretion in denial
            _________

            of new trial request where the newly disclosed information at

            issue would  have  at most  impeached  further a  witness  of

            already "dubious"  credibility).  In  light of all  the other

            evidence, it is highly improbable that the "newly discovered"

            evidence would have  mattered a whit.  There was  no abuse of

            discretion by the district court. 



                      Affirmed.    
                      _________

























                                         -11-
                                          11









